                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

REMINGTON OUTDOOR COMPANY,                      )       CASE NO. 20-81688-CRJ
INC., et al.1,                                  )       CHAPTER 11
                                                )
           DEBTOR.                              )       Jointly Administered


                LIMITED OBJECTION TO DEBTORS’ MOTION
                 FOR (I) AN ORDER ESTABLISHING BIDDING
            PROCEDURES AND GRANTING RELATED RELIEF AND
 (II) AN ORDER OR ORDERS APPROVING THE SALE OF THE DEBTORS’ ASSETS

           COMES NOW Oneida Molded Plastics, LLC (“Oneida”), and files this limited objection

to the Debtors’ Motion for (I) An Order Establishing Bidding Procedures and Granting Related

Relief and (II) An Order or Orders Approving the Sale of the Debtors’ Assets [Doc 29] (“Sale

Motion”), and states the following in support thereof:

           1. On or about July 27, 2020, the Debtors filed a voluntary petition for relief under

Chapter 11 of the United States Code.

           2. On or about July 28, 2020, Debtors filed the Sale Motion seeking to establish bidding

procedures and an Order approving the sale of substantially all or a portion of its assets.

           3. Oneida is a creditor in the above styled case with a claim of approximately

$135,415.88.



1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI
Holding Company, LLC (9899); FGI Operating Company, LLC (9774); Remington Arms
Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522); RA Brands, L.L.C.
(1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC
(7744); and Outdoor Services, LLC (2405). The Debtors’ corporate headquarters are located at
100 Electronics Boulevard SW, Huntsville, AL 35824.
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           4. Oneida at the request of Debtor, fabricated the tooling and molds (“Mold Product”)

that Debtor uses to manufacture, assemble or cast certain firearms designed specifically for the

Debtor.

           5. According to New York Lien Law §150:

                  A “Molder" means any individual or entity who fabricates, casts or otherwise
                  makes or uses a die, mold, form, or pattern for the purpose of manufacturing,
                  assembling, casting, fabricating, or otherwise making a product or products for a
                  customer. A "molder" includes, but is not limited to, a tool or die maker. Article
                  6A, Section 150 Laws of New York.


           6. According to New York Lien Law §151:

                  Molders shall have a lien, dependent on possession, on all dies, molds, forms or
                  patterns in their hands belonging to a customer, for the balance due them from
                  such customer for any manufacturing or fabrication work, and in the value of all
                  material related to such work. Such lien shall not have priority over any security
                  interest in the die, mold, form or pattern that is perfected at the time the molder
                  acquires the lien. The molder may retain possession of the die, mold, form or
                  pattern until the charges are paid.


           7. Oneida is a Molder as defined by the State of New York and in maintaining

possession of the Mold Product, claims a statutory lien against Mold Product.

           8. Oneida objects to the inclusion of the Mold Product in the Sale Motion without some

form of adequate protection for its lien rights such that its lien would continue to attach to the

Mold Product until the balance of its claim is paid in full or that its lien would attach to the

proceeds of the sale in an amount equal to the value of the Mold Product.

           WHEREFORE, Oneida requests that any Order entered by this Honorable Court

approving the Sale Motion exclude the sale of Mold Product in Oneida’s possession unless some

form of adequate protection is provided or Oneida’s lien attaches to the proceeds of the sale, and
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for such other further and different relief to which it is entitled by law and in equity.


           Respectfully submitted this __7th__ day of August, 2020.


                                               /s/ Steven D. Altmann_________________
                                               Steven D. Altmann
                                               Attorney for Oneida Molded Plastics, Inc.
OF COUNSEL:
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above Limited Objection to the Debtor’s Motion for (I)
an Order Establishing Bidding Procedures and Granting Related Relief and (II) an Order or
Orders Approving the Sale of Debtor’s Assets has been served on the following by electronic
mail on this the __7th___ day of August, 2020.

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400 South Hope Street, 18th Floor
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All parties that have requested notice in the Chapter 11 Cases.


                                             /s/ Steven D. Altmann_____________
                                                     Of Counsel

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